“Case 1-19-40173-ess “Doc 11. Filed’ 01/24/19 Entered 01/25/19 10:01:21

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Debtor 4 eS FAL Ws ir
First Name “Widdle Name Last Name CLERK
U.S. BAHRRUPTCY COURT
Spouee, i ing) First Name Middle Name Last Name EA of ERN DISTRICT OF
NEW YORK

 

United States Bankruptcy Court for the: Eastern District of New York

Case number [7 } a = YO (Zz “2 eS = me Ay JAN Zu Boia his is an

(if known) amended filing

 

 

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3

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exemot. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number {if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific doliar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions--such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular doilar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

 

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

ae are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3)
You are claiming federal exemptions. 11 U.S.C, § 522(b)(2}

2. For any property you list on Schedufe A/B that you claim as exempt, fill in the information below.

 
    
  

         
 
 

- Brief description o of the fe property and tine on. Amount of the exemption you claim’ cific laws that allow exemp’ on:
“Schedule A/S that lists this property

   

Current value . of the

 
 
  

 

= Check anly.one box for each:exemption

     

     

 

Brief “OT

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

q | oy .

description: $ el cal!

Line from LC 100% of fair market valua, up tc
Schedule A/B: , any applicable statutory fimit
Brief

description: re Os

Line from L] 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: § Us

Line from (2 190% of fair market value, up to
Schedule A/B: any applicable statutory limit

'3. Are you claiming a homestead exemption of more than $160,375?
‘(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.}

No
C} a you acquire the property covered by the exemption within 1,215 days before you filed this case?

No
. Q Yes

Official Form 106C oe Schedule C: The Property You Claim as Exempt 23

 

 

 

 

 

 

 

 

 

 
Debtor 1

 

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First Name

Middle Name

Perea Additional Page

 

Last Name

Case number (known)

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- Brief description of the property and
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his property:

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i¢ laws that allow exemption —

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106C

 

 

 

 

 

 

Schedule C: The Property You Claim as Exempt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cos Schedule AB
Brief
description: $ Ls
Line from LY 190% of fair market value, up te
Schedule A/B: any applicable statutory limit
Brief
description: $ Lis
Line from 4 100% of fair market value, up to
Schedule A/B:. ———— any applicable statutory limit
Brief
description: $ C$
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ O¢
Line from C] 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Lis
Line from CL] 100% of fair market value, up to
Schedule AB: —— any applicable statutery limit
Brief
description; $ Lig
Line fram LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory fimit
Brief
description: $ Os
Line from LL) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: 5 Ls
Line from CL) 100% of fair market value, up to
Schedule A/B: ~—-—— any applicable statutory limit
Brief
description: $ Cis
Line from LJ 100% of fair market value, up to
Schedule A/B: 7 any applicable statutory limit
Brief
description: $ Lig
Line from CL} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Ls
Line from C) 100% of fair market value, up to
Schedufe A/B: ——— any applicable statutory limit
Brief
description: $ Lig
Line from L) 109% of fair market value, up to
Schedule A/B: 7 any applicable statutory limit

24

 
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Bd dds | _ .

Fists

First Name Middle Name Last Name

   

 
   
 

     
   
   

Debtor 1

Debtor 2
(Spouse, if filing) First Name

 

Middie Name Last Name
United States Bankruptcy Court for the: Eastern District of New York

L- [9-40/JAa> €3>

Case number

if known) L) Check if this is an

amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additiona! pages, write your name and case number (if known),

 

1. Do any creditors have claims secured by your property?
a Check this box and submit this form to the court with your other schedules. You have nothing eise to report on this form.
Yes. Fill in alj of the information below.

  

| List All Secured Claims

   

      
     

 

 

   

 

 

 

 
 
  
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 
 

 

 

Oficial Form 1060

Schedule D: Creditors Who Have Claims Secured by Property

"2," List all secured claims. If a creditor has more than one secured claim, list the cr separately’.
each ‘claim. If more than, one.creditor. nas a particular ‘claim, list the other creditors.in Part 2.
As much as possible, list the claims in alphabetical order.according to the creditor's nan
x cae. a ~ a : CNPP ay AS SUEEESSE: ees ~
[ 2.1] : Sy Ke Sern. Describe the property that secures the claim: $ $
Cre tors Name eae 0: by 3 ms ‘ \ +
of FERC , rigs.
| 5A 4+ + Pee, TReoiy rich ise
Number Street
As of the date you file, the claim is: Check all that apply.
im . 5 ¥ O Contingent
IWele Gist i. 4 © unliquicated
City Stag ZIP Code 1 disputed
Who owes the debt? Check one. Nature of lien, Check al! that apply.
L) Rebtor 4 only CJ An agreement you made (such as mortgage or secured
LJ Debtor 2 only car loan)
(Debtor 1 and Debtor 2 only (J Statutory lien (such as fax lien, mechanic's fien)
{) Atleast one of the debtors and another CJ Judgment flen from a lawsuit
CI Other {including a right to offset}
C) Check if this claim relates to a
community debt
Date debt was incurred Last4 digits ofaccountnumber
|_2.2) Describe the property that secures the claim: $ $ $
Creditor’s Name
Number Street
As of the date you file, the claim is; Check ail that apply.
C] Contingent
() Unliquidated
Cily State ZIP Code O disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
[] Bebtor 1 only C) An agreement you made (such as mortgage or secured
CY Debtor 2 only car loan)
U Debtor 1 and Debtor 2 only LY Statutory fien (such as tax lien, mechanic's tien}
L] At least one of the debtors and another LC) Judgment lien from a lawsuit
L] Other {including a right to offset)
UC] Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits ofaccountnumber
"Add the dollar value of your entries in Column A on this page. Write that number her«
. neiehinnets Beeson oA

 

 

 

 
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or CAPA ASTid lO

First Nama Middle Name

Last Name

 

Additional Page

by 2.4, and so forth.

‘ After listing any entries on this page, number them beginning with 2.3, followed

 

 

 

Credifor's Name

Describe the property that secures the claim: $

 

 

Number Street

 

 

 

 

 

City State ZIP Code

Who owes the debt? Check one.

Debtor 7 only

Debtor 2 only

Debter 1 and Debtor 2 only

At least one of the debtors and another

O OOO

Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file, the claim is: Check all that apply.
tL] Contingent

CI Unliquidated

C] Disputed

Nature of Jien, Check ail that apply.

QL) an agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic's lien)
Judgment lien from a lawsuit

Other {including a right to offset)

OoU

Last 4 digits of accountnumber

Case number (fknowa) / -/ G~ Ste 3 = ae ey

 

 

LI

 

Creditors Name

Describe the property that secures the claim: $

 

 

 

Number Street

 

 

 

 

 

City State ZIP Code
Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

O OOOO

Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file, the claim is: Check all that apply.
Contingent

CL] Unliquidated

C) Disputed

Nature of lien. Check ail that apply.

CQ) an agreement you made (such as mortgage or secured
car loan}

Statutory lien (such as tax lien, mechanic's lien}
Judgment lien from a lawsuit

Other {including a right to offset)

a a

Last 4 digits ofaccount number

 

LI

 

Creditors Name

Describe the property that secures the claim: $

 

 

 

Number Street

 

 

 

 

 

City State ZIP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Bebter 1 and Debtor 2 only

At least one of the debtors and another

COC OOOO

Check if this claim relates to a
community debt

Date debt was incurred

   

 

 

Write that number here;

 

Add the dollar-value of your entries in Colurnn A on this page

If this is the last page of ‘your form, add the dollar value totals from ail pages.

As of the date you file, the claim is: Check all that apply.
C) Contingent

CI] Unliquidated

| Disputed

Nature of lien. Check all that apply.

O An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic’s tien)
Judgment lien from a fawsuit

Other (including a right to offset)

ooo

Last 4 digits of account number

 

       

rite that number here:.

A

 

 

 

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Official Farm 1066

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

 

 
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oe tog
Debtor 1 a 1 aD, “
First Naiie Middle Name

   

AS Tick Ie

Last Name

List Others 1 to » Be Notified fora a Debt That You Already" Listed

Case number (if known} /-/ G YO} 72 = we Le

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ oo
Number Street
City Siate ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ _
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number oe
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccountnumber
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccountnumber
Number Street
City State ZiP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ee
Number Street
City State ZIP Code

 

 

Ofieial Farm 7neM

Part 2? of Schedule D: Creditors Who Have Claims Secured by Property

26

 

 
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Debtor 1 —_ a A St i ich ue

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing} First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Eastern District of New York

Case number Ee ee CI Check if this is an !

(If known} amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 1215

Be as complete and accurate as possible, Use Part 4 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule

 

 

A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left, Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List AH of Your PRIORITY Unsecured Claims

 

 

1. at creditors have priority unsecured claims against you?
No. Go to Part 2.

 

 

 

 

 

 

 

 

 

 

2.1
Last 4 digits ofaccountnumber OS $ $
Priority Creditors Name |
When was the debt incurred? |
Number Street |
As of the date you file, the claim is: Check all that apply.
|
City Siate—*ZIP Code UO Contingent
; > LY Unliquidated
Who incurred the debt? Check one, Disputed
C} Debter 1 only
C1 Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only LF Domestic support obligations
At least one of the debiors and another (J Texes and certain other debts you owe the government
U Check if this claim is for a community debt CJ Claims for death er personal injury while you were
Is the claim subject to offset? intoxicated :
1 No CO) other. Specify !
Ct Yes
2.2 |

Last 4 digits ofaccountnumber $ $

 

Priority Greditor's Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
City Sate 2IP Code OF Unliquidated
Who incurred the debt? Check one. UO) Disputed

CY Debtor 1 only

C] Debtor 2 only

() Debtor 1 and Debtor 2 only

CO) At least one of the debtors and another

Type of PRIORITY unsecured claim:
LI Domestic support obligations
CJ Taxes and certain other debts you awe the government

CJ Claims for death or personal injury while you were
©) Check if this claim is for a community debt P ary was y

 

 

 

intoxicated :
Is the claim subject to offset? C1 other. Specify
CI No
C) ves :

 

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(Hficiel Farm 106E/F Schedule E/F- Creditors Who Have Unsecured Claims
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Debtor 4 CA 4A) fi<tud uv

First Name Middle Name Last Name

 

 

   

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Your PRIORITY | Unsecured Claims — Continuation Page

        

 

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Pate ate} Crxene (Ne

Sehadule E/E: Creditors Who Have Unsecured Claims

Last 4 digits of account number Le $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
City Stale «ZIP Code (4 Unliquidated
U Disputed
Who incurred the debt? Check one.
L) Debtor 1 onty Type of PRIORITY unsecured claim:
fi
U debtor 2 only L] Domestic support cbligations
{J Debtor 1 and Debtor 2 only ,
UO) Taxes and certain other debts you owe the government
Ci At least one of the debtors and another . _ .
1 claims for death or personal injury while you were
OC) Cheek if this claim is for a community debt intoxicated
C1 other. Specify
Is the claim subject to offset?
LI Ne
UI Yes
Last 4 digits of account number $
Priority Crediter’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
L) Contingent
City State 7IP Code C] Unliquidated
Q Disputed
Who incurred the debt? Check one.
C) Debtor 1 only Type of PRIORITY unsecured claim:
U Debtor 2 only C) Domestic suppert obligations
CY Debtor 1 and Debtor 2 only Q :
Taxes and certain other debts you owe the government
L] At least one of the debtors and another . ws .
Q) claims for death or personal injury while you were
LI) Check if this claim is for a community debt intoxicated
C] other. Specify
Is the claim subject to offset?
LI No
L) ves
Last 4 digits of account number oe $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim Is: Check all that apply.
OC) contingent
City State ZIP Code LD Unliquidated
C) Disputed
Who incurred the debt? Check one.
CI Debter 1 only Type of PRIORITY unsecured claim:
2
U1 Detior 2 only (2 Domestic support obligations
L) Debtor 1 and Debtor 2 only .
QC) Taxes and certain other debts you owe the government
Lj At least one of the debtors and another . . :
LJ claims for death or personal injury while you were
CJ Check if this claim is for a community debt intoxicated
OQ) other. Specify
Is the claim subject to offset?
OC No
C} Yes
28

 
Case) 1-19-40173-ess ‘Doc 11 Filed 01/24/19 ~ Entered 01/25/19 10:01:21 °°

Debtor 4 El WA AS Tec LY

First Name Middle Name Las! Name

Case number grknown) f/f FG - GOL AS* aS Ss

List All of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?
AJ No. You have nothing to report in thls part. Submit this form to the court with your other schedules.

nonpriority unsecured claim, dist the’ creditor separately for each ch

 

 

 

particular: claim; listthe other:creditors i

 

Last 4 digits of account number ____

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditors Name $
When was the debt incurred?
Number Street
City State ZIP Code As of the date you file, the claim is: Check all that apply.
QO) Contingent
Who incurred the debt? Check one. QC) Unliguidated
3 Debtor 1 only O] Disputed
() Debtor 2 only
CI Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(] At least one of the debtors and another O Student loans
O) Check if this claim is for a community debt LJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (J Debts to pension or profitsharing plans, and other similar debts
LI No CI Other. Specify
C) ves
4.2 Last 4 digits of account number _ $
Nonpricrity Creditors Name When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code O Contingent
Who incurred the debt? Check one. O1 unliquidated
LI] Debter 4 only C1 Disputed
LJ Debtor 2 only .
CO Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CY At least one of the debtors and another LU Student loans
ao | ; LI Obligations arising out of a separation agreement or divorce
C) Check if this claim is for a community debt that you did not repart as priority claims
Is the claim subject to offset? C) Debts to pension or profit-sharing plans, and other similar debts
(No Q) otner. Specify
Cl ves
4.3 oe
Last 4 digits of account number ee
Nonpriority Creditor’s Name . §
When was the debt incurred?
Number Street
Gily Tate FP Code As of the date you file, the claim is: Check all that apply.
Cl Contingent
Who incurred the debt? Check one. a ingen
O Unliquidated
C1 Debtor 1 only .
L] Disputed
CI Debtor 2 only
U) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(J At least one of the debtors and another
LJ Student loans
UO) Cheek if this claim is for a community debt (] Obligations arising out cf a separation agreement or divorce
: ft did not rt as priorit i
Is the claim subject to offset? that you di ne repo as pn i y claims a
On O) Debts tc pension or profit-sharing plans, and other similar debts
° LI other. Specify
LI Yes
2g
ae

@GnBoAile LEME: Oroaditarc Who Usve lincacired Claims

 

 
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First Name Middle Name Last Name

  

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Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

   

 

 

 

followed by 4.5, and so forth.

Last 4 digits of account number

 

Case number (known), /-f F- GO £73 -< Sf

 

 

 

 

 

 

 

 

 

 

 

 

 

 

— $
Nonpriority Creditors Name
When was the debt incurred?
Numb Street
umber ee As of the date you file, the claim is: Check all that apply.
City Slate ZIP Code () Contingent
Q) Untiquidated
Who incurred the debt? Check one. (1 Disputed
EC) Debtor 1 only
O) Debtor 2 only Tyne of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O student leans
At least one of the debiers and another L] Obligations arising out of a separation agreement or divorce that
O Check if this claim is for a community debt you cid not report as priority claims -
CL) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? U1 Other. Specify
C) No
Cl ves
Last4 digits ofaccountnmumber $
Nonoriority Creditor's Name
When was the debt incurred?
Numb Street
ner me As of the date you file, the claim is: Check all that apply.
Gity State ZIP Code J contingent
C) Untiquidated
Who incurred the debt? Check one. C1 visputes
L) Debtor 4 only
CL] Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CO student loans
At least one of the debtors and another ] Obtgations arising out of a separation agreement or divorce that
(] Check if this claim is for a community debt you did no report as priority claims _.
C1 Debis to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? 1 other. Specify,
C} No
QO) ves
|| oy §
Last 4 digits of account number ___ _
Nonpriority Creditors Name
When was the debt incurred?
Numb Street oo
emer ee As of the date you file, the claim is: Check all that apply.
City State ZIP Cade QJ Contingent
) Unliquidated
Who incurred the debt? Chesk one. [ disputed
() Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
3 Debtor 1 and Debtor 2 only (1 student loans
At least one of the debtors and another (J Obligations arising out of a separation agreement or divorce that
LI] Check if this claim is for a community debt you did not report as priority claims a
L] Debts to pension or profit-sharing pians, and other similar debts
Is the claim subject to offset? L) other. Specify
LI No
C] Yes
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ag ey

@ankbndala CIC: Craditare UWihhn Have lincacirad Claims

 

 
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Debtor 4

   

 

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Case number (if snown) f-/ G- GOS FS ess

 

First Name

Middle Name

Last Name

List Others to Be Notified About a Debt That You Already Listed

 

example, if a collection agency is trying
2, then list the collection agency here. Similarly,

5. Use this page only if you have others to be notified about your bankruptcy, fora debt that you already listed in Parts 1 or 2. For
to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the

additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Cheek ene): O Part 1: Creditors with Priority Unsecured Claims
Number Street Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ___ oe
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C) Part 4: Creditors with Priority Unsecured Claims
Number Street Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number oe
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one). U1 Part 1: Creditors with Priority Unsecured Claims
Number Street C] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Street ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ____ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Pari 1: Creditors with Priority Unsecured Claims
Number Street CJ Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ ee
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): LJ Part 1: Creditors with Priority Unsecured Claims
Number Street O) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ eo
City State ZIP Code
. On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check ene): O Part 1: Creditors with Priority Unsecurec Claims
Nurmber Street . . toe
(4 Part 2: Creditors with Nonpriority Unsecured
Claims
Eily Sine FiP Code Last 4 digits of account number ___ ee
31

ey

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» Mpsditnre Who Have Elpenctured Claims

 
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Debtor 1 od db I iA Siu Yk Lil \| O Case number tf known) /-/9- SO, PD -2 SS

First Name Middle a Last ian

‘a Add the Amounts for Each Type of Unsecured Claim

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.3.C, § 159.
Add the amounts for each type of unsecured claim,

 

: : , Domesti ort obligati
‘Total claims 6a c supp liga ions

ir . Taxes and certain other debts you owe the

government

. Claims for death or personal injury while you were
intoxicated

. Other. Add all other priority unsecured claims.
Write that amount here,

 

 

 

. Total. Add lines 6a through 6d. 6e. ()

 

 

 

 

“Total claims 6f. Student loans 6.
= 6g. Obligations arising out of a separation agreement

or divorce that you did not report as priority

claims 6g.

. Debts to pension or profit-sharing plans, and other
similar debts 6h.

i. Other. Add all other nonpriority unsecure claims.
Write that amount here. Gi,

 

    

 

 

6j. Total. Add lines 6f through 6i. gj.

 

 

 

 

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~“Case 1-19-40173-ess Doc1i1 Filed 01/24/19

Debtor af

First Name . / Last Name

Debtor 2
(Spouse Iffiling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Eastern District of New York

Case number /- /4- F4OLP3 ~ 2S

(lf known}

 

 

Official Form 106G

 

Entered 01/25/19 10:01:21 *

(J Check if this is an
amended filing

Schedule G: Executory Contracts and Unexpired Leases 42/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known}.

1. bo yp have any executory contracts or unexpired leases?
jo

_ Check this box and file this form with the court with your other schedules. You have nothing eise to report on this form.
©) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B)}.

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

      

Person or company v

   

2.1

 

Name

 

Number Street

 

City State ZIP Code

‘State what the contract or lease is for.

  

 

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code
2.4:

 

Name

 

Number Street

 

City Stale _ ZIP Code

 

Name

 

Number Street

 

 

1: one hannp bt@te ZIP Code ss sguonry ih innipencsesnentepennes

a ey OpLeaahida @: Desecutars: Canterartc and Unaynirer | eases

 
‘Case 1-19-40173-ess° Doc 11: Filed-01/24/19:° Entered 01/25/19'10:01:21 —

Debtor 1 el h ASNedul [ () Gage number yrton LAG: YO (27 ee Sf

First Name Middie Name Last Name

 

Pa Additional Page if You Have More Contracts or Leases

    
 

ompany ‘with whom you have the contract or lease. ‘What the contract or lease is. for

     

        

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

uf

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

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Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

 

City State ZIP Code

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Se

Debtor 1 oe : ith : wave | i ia

Middle Narne Last Name

    

  
      

    

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

       

United States Bankruptcy Court for the: Easter District of New York

Case number /-/¢- “(4/7 3 ~ 2 S&S
(If known} L) Check if this is an

amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known}. Answer every question.

 

 

 

oO
CL) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
vee California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

‘ZI No. Go to line 3.
UL) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

OC) No

QC) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

1. he have any codebtors? {If you are filing a joint case, do not list elther spouse as a codebtor.)
N

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Gode

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have fisted the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F}, or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to Till out Column 2.

   
  

‘Column 1: Your codebtor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
LI Schedule D, line
Name
(4 Schedule EF, line
Number Street UL] Schedule G, fine
City State Z|P Code
3.2
C) Schedule D, line
Name
[J Schedule E/F, line
Number Street CJ Schedule G, line
City State ZIP Code
3.3
Q] Schedule D, line
Name
(] Schedule E/F, ine
Number Bireat () Schedule G, tine
City State ZIP Code

 

 

 

25

rer pm ke Crnbaei tn Le Warr Oadabinee

 
Debtor 1 & J ith AgTeds te

First Name

    

Last Name

Additional Page to List More Codebtors

Case. 1-19-40173-ess' “Doc 11° Filed 01/24/19 Entered 01/25/19 10:01:21 |

Case number (known) /-/ g- “440 i773 - 2s y

 

 

 

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“Check all schedtiles thatapplys: 2205
a
QO) Schedule D, fine
Name
LJ Schedule E/F, line
Number Street LY Schedule G, line
City State ZIP Code
P|
LL) Schedule D, line
Name —
() Schedule E/F, line
Number Street | Schedule G, line
City State ZIP Code
|
C] Schedule D, line
Name ———_
C] Schedule E/F, line
Number Street L] Schedule G, line
City State ZIP Gode
|
(4 Schedule D, line
Name —
LI Schedule E/F, line
Narber Street CL) Schedule G, line
Gly Siale ZIP Code
P|
LJ Schedule D, line
Name TT —
LJ Schedule EJF, line
Number Street LJ Schedule G, line
City State ZIP Code
|
Q) Schedule D, line
Name mere
LJ Schedule E/F, line
Number Street Q Schedule G, line
City Siaie ZIP Code
a
LJ Schedule D, line
Name
UL Schedule E/F, iine
Number Street LJ Schedule G, line
City State ZIP Code
p. |
C] Schedule D, line
Name
[Tl Schedute EMF, line
Number Street OC] Schedule G, line
City State ZIP Code

 

 

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a sscat cahcscru rca

Debtor 1 CMA ASTu 4, Ww -

First Name Middle Name Last Name

 

Debtor 2
{Spouse, if filing} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Eastern District of New York

Case number [- / G = YO/7A 428 Check if this is:
now
wl An amended filing |

L] A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106 wM DDT YY |
Schedule I: Your Income “42115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jeintly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

 

Describe Employment

 

 

 

4. Fillin your employment
information.

   

“Debtor2 or non-filing spouse.

 

If you have more than one job,

attach a separate page with a’
information about additional Employment status Employed C1 Employed
employers, LJ Not employed CJ Net employed

Include part-time, seasonal, or

self-employed work. ‘ } :
Cleanw 4

Occupation
Occupation may include student P
or homemaker, if it applies.

Employer’s name “a ih Cl CA ANS
Employer’s address 0 ~ > x Vingspe |

Number Street Number = Street

 

 

Jana Aa [1439

City State ZIP Code City State ZIP Code

ron
Hew long employed there? o

Give Details About Monthly Income

 

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines |
below, If you need more space, attach a separate sheet to this form,

 

2. List monthly gross wages, salary, and commissions (before all payroil

 

 

 

deductions}. If not paid monthly, calculate what the monthly wage would be. 2.
3. Estimate and list monthly overtime pay. 3. +4
4, Calculate gross income. Add line 2 + line 3. 4,

 

 

 

 

 

 

 

37
Official Form 1061 Schedule I: Your Income
Debtor 1

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2 Awh ised (/O:

Case number (known).

SAG -Gb/7S ESS

 

 

Ld]

 

 

 

 

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name iddie Name Last Name
‘For Debtor2 or
‘non-filing spouse ::
Copy line 4 NOLO. cesecccccccccsssesecseteseeeseeenecannenrerecesessseananseaneeneseneenteaetaniaasestentsans > 4. $
: 5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions Sa. § U $
=
5b. Mandatory contributions for retirement plans 5b. S$ V $
5c. Voluntary contributions for retirement plans 5c. = $ V $
5d. Required repayments of retirement fund loans Sd. $ 0 $
m4,
5e. Insurance Se. § ) $
5f. Domestic support obligations 5f. $ v $
5g. Union dues og. $ Ci §
5h. Other deductions. Specify: 5h. + + $
sy
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d +5e +5f+5g+5h. 6. $ 4 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ \ bLO $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross ~

receipts, ordinary and necessary business expenses, and the total $ Co $

monthly net income. 8a.
8b. Interest and dividends 8b. § (? $ ’
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive a

Include alimony, spousal support, child support, maintenance, divorce 5 U $

settlement, and property settlement. 8s. =

/
8d. Unemployment compensation sd. 3 UU; $
8e. Social Security Be. § t $
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies. CO}

Specify: af. 8 3
8g. Pension or retirement income 8g. § (} $
8h. Other monthly income, Specify: 8h. +4 +g

&, Add all other income. Add lines 8a + 8b + 8c + 8d + Se + Bf +8g + Bh. 9. $ UV $

 

 

 

 

 

 

5 Lye =|$ - “o

 

 

 

 

11. State all other regular contributions to the expenses that you fist in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

WF $ A

 

13. Do/you expect an increase or decrease within the year after you file this form?

 

 

 

Specify:
42. Add the amount in the last column of line 16 to the amount in line 11. The result is the combined monthly income. Gy ge
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, ii it applies 12. {CV
Combined

monthly income

 

 

Yes. Explain:

 

 

 

Official Form 1061 Schedule : Your Income

gh

 
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-Fillin this information to identify your ease:

Debtor 4 S2 ah LN N

First Nam Middle Name

  

  
 
   
 

  
 

 

Check if this is:

Last Name

  

  
 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

LJ An amended filing

LI] A supplement showing posipetition chapter 13
expenses as of the following date:

        

United States Bankruptcy Court fer the: Eastern District of New ‘York

Case number i- [G7 FO/73- 2.35

(lf known) MM / DD/ YYYY

 

Official Form 106J

 

Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Describe Your Household

 

 

1. Is this a joint case?

LWNo. Go to line 2.

CL] Yes. Does Debtor 2 live in a separate household?

LY No
UO Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

 

2. Do you have dependents? Uf no
: Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and C) Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependerti..s.... ee O
Do noi state the dependents’ O No
names, : Yes
L) No
CL) Yes
LI No
OX Yes
UL] Na
LI Yes
LJ No
’ CO) Yes
-3. Do your expenses include id no

expenses of people other than OQ
yourself and your dependents? Yes

 

  

Estimate Your Ongoing Monthly Expenses

 

_ Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

: expenses as of a date after the bankruptcy is filed, If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

: Include expenses paid for with non-cash government assistance if you know the value of

: such assistance and have included it on Schedule I: Your Income (Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage paymenis and
, any rent for the ground or lot. 4.

[f not included in line 4:

4a, Real estate taxes da,
4b. Property, homeowner's, or renter's insurance 4b.
4c. Home maintenance, repair, and upkeep expenses 4c.

4d. Homeowner's association or condominium dues Ad,

 

Official Form 106J Schedule J: Your Expenses
Case 1-19-40173-ess°* Doc 11° Filed 01/24/19 Entered 01/25/19 10:01:21"

 

Debtor 1 Cad f th AS Aactil | Case number (tkawn} / “f 7 ~ GOES ~ ef

 

 

 

 

First Name Middle Name Last Nama
5. Additional mortgage payments for your residence, such as home equity loans 5. $
6. Utilities: \
me
6a. Electricity, heat, natural gas 6a. § i o & CC
" " fg
6b. Water, sewer, garbage collection 6b, = $ i / S. OO
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ i oo S: Ci af
6d. Other. Specify: 6d. $
7. Food and housekeeping supplies 7. $.
8, Childcare and children’s education costs a $< ) ~

’ 9, Clothing, laundry, and dry cleaning 9. S$ ¢ Ye ). v)
10. Personal care products and services 10. $ cl Oy Leo
'44. Medical and dental expenses Ln: ij

. . [ om os,
42. Transportation. Include gas, maintenance, bus or train fare. 5 So ( it t

Do not include car paymenis. 12. " “
43, Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ aan en
14, Charitable contributions and religious donations 14. $ i)

15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a, $ é 4

45b. Health insurance 15b. Lo

15c. Vehicle insurance : 16c.

i
45d. Other insurance. Specify: isd. $ ASX a

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

 

 

 

 

Specify: 1s, §
‘17. Installment or lease payments: 2) |
: 17a. Car payments for Vehicle 1 va $e |
17b. Car payments for Vehicle 2 17b. s (2)
47c. Other. Specify: 17. $ ( }
17d, Other. Specify: 17d. $ £ }
48. Your payments of alimony, maintenance, and support that you did not report as deducted from
: your pay on line 5, Schedutle {, Your Income (Official Form 1061). 18, 3 ae

 

‘49. Other payments you make to support others who do not live with you.
Specify: 19. §
‘0. Other real property expenses not included in lines 4 or 5 of this form or on Schedule ft Your Income.

20a. Mortgages on other property 20a.

$
20b, Real estate taxes 20b. $ L
20c. Property, homeowner's, or renter’s insurance 20c,  § C

20d. Maintenance, repair, and upkeep expenses 20d.

$
208. Homeowner's association or condominium dues 20e. §

Official Form 106J Schedule J: Your Expenses 40
. Case 1-19-40173-ess: Doc 11° Filed 01/24/19 Entered 01/25/19 10:01:21

os _ t
Debtor 1 Od hy AS he | (\ LO Case number tfknowny /-/ 7 GO 12> @ Sy"

First Name Middle Name Last Name

 

 

 

24. Other. Specify: a1, +3 a

 

‘29, Calculate your monthly expenses.

C
22a. Add lines 4 through 21. 22a. % 1 a

22b, Copy line 22 (menthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. % { }
. . m oth
22c. Add line 22a and 22b. The result is your monthly expenses. 226. S o) ~S -Oe

 

 

 

 

 

 

23, Calculate your monthly net income. / b GO
| 38a, Copy line 12 (your combined monthly income) from Schedule L 23a. $
}
23b. Copy your monthly expenses from line 22s above. 236, = § 4 Zs ‘ ie
23c. Subtract your monthly expenses from your monthly income. § “] 3 S: i
The result is your monthly net income. 23c.

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect fo finish paying for your car loan within the year or do you expect your
mogégage payment to increase or decrease because of a modification to the terms of your mortgage?

No.
O Yes. Explain here:

 

i
eveerce need

 

 

Official Form 106J Schedule J: Your Expenses a1

 
 

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- Fill in this information to identify your case:

edi
Debtor 1 la. f

Firat Name Middle Name Check if this is:

Debtor 2 UL) An amended filing

{Spouse, if filing) First Name Middle Narne Last Name
L} A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Eastern District of New York expenses as of the following date:

Case number /-/4- YOM PS = 2A 3 MM / DDS YYYY

(lf known)

 

 

 

Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2 12/15

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. ff Debtor 7 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible, If more space is
needed, attach another sheet to this form. On the top of any additional! pages, write your name and case number (if known). Answer every
question,

 

 

Describe Your Household

 

 

1. Do you and Debtor 1 maintain separate households?

No. Go not complete this form.

 

 

 

 

 

 

 

 

 

Q) Yes
2. Do you have dependents? Wo
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 but list all L) Yes. Fill out this information for Debtor 2: age with you?
other dependents of Debtor 2 each dependent... :
regarcless of whether listed as a : QO No
dependent of Debtor 7 on | O yas
Schedule J. 4
N
Do not state the dependents’ gO °
names. Yes
I No
) Yes
UL No
CL) Yes
(1 No
. LC) Yes
3. Do your expenses include so

expenses of people other than g
yourself, your dependents, and Yes
Debtor 17

 
 

Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
’ expenses as of a date after the bankruptcy is fited.

Include expenses paid for with non-cash government assistance if you know the value of
_ such assistance and have included it on Schedute /; Your Income (Official Form 1061.)

. 4. The rental or home ownership expenses for your residence. Include first mortgage payments and im de 0 Oo —
$9 SOU:
any rent for the ground or lot. 4,

 

expenses -

   

If not included in line 4:

da. Real estate taxes 4a. $ t250D J
$

 

4b. Property, homeowner's, or renter’s insurance 4b. D>

. , oy
4c. Home maintenance, repair, and upkeep expenses 4c. 5 7
4d. Homeowner's association or condominium dues Ad, $. O

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 42

 
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Debtor 1 I Ae A Astudl a

“40,
41.

12.

46.

17.

18,
18.

:20.

First Name MiddidName * Last Name

Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c, Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies

Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a, Life insurance
45b. Health insurance
18¢. Vehicle insurance

16d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or Included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a, Car payments for Vehicle 1
17b, Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedufe I, Your income (Official Form 106)).

Other payments you make to support others who do not live with you.

Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes
20c, Property, homeowner's, or renter's insurance

20d. Maintenance, repair, and upkeep expenses

Official Form 106J-2

Case number (i known)

Schedule J-2: Expenses for Separate Household of Debtor 2

6a.
Gb.
6c,

6d.

15a.
15b.
18.

15d.

17a.
17b,
t7e.

iid.

18.

20a.
20b.
20c.
20d.

20e.

L°f 9 YOCI3> SS

our expenses.

 

 

 

 

 

 

$

sD

8

$ ee
$ p

43

 
Debtor 1 g A dA ASA J VO Case number urknown)

Case 1-19-40173-ess Doc 11

‘FirstNarhe” Middle Nama

Last Name

 

:21. Other. Specify:

22, Your monthly expenses. Add lines 5 through 21.

The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the
total expenses for Debtor 1 and Debtor 2.

:23, Line not used cn this form.

‘24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your

No.

a payment fo increase or decrease because of a modification to the terms of your mortgage?

21.

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,

og GAS MN

 

 

 

Ql Yes. | Explain here:

 

 

 

Official Form 106J-2

Schedule J-2: Expenses for Separate Household of Debtor 2

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Case 1-19-40173-ess “Doc 11° Filed 01/24/19 “Entered 01/25/19 10:01:21 -

 
  

al a this TN Et re Rts Peta oc

First Name Middle Name Last Name

      
   
     
  
 

   
  

Debtor 4

  
 

Debtor 2
(Spouse, if fling) First Name Middle Name Last Name

 

  
   

United States Bankruptcy Court for the: Eastern District of New York

Case number / = f G- SOMA ~ Ls \.

(If known)

{State}

 

 

L] Check if this is an
amended filing

 

 

Official Form 106Dec

 

Declaration About an Individual Debtor’s Schedules 12/18

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules, Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1549, and 357. ,

Sign Below

 

 

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

No
OC] Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and i
Signature (Official Form 149).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

   
   

 

 

 

9 ff
x cK ptud/ {ls *
Signature of Debtor 4 Signature of Debtor 2
Date i I ot? lg Date
MM; DD f YYYY MM/ DD? YY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules 45
Casé 1-19-40173-ess °}Doc.11 °° Filed 01/24/19 ~~ Entered 01/25/19 10:01:21 °

 
  
 

A ecco k ue ke

Debtor 1 Chi L. / Std | |

First Narne Middle Name

    

  
       

Last Name

 

 
  

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

 
       

United States Bankruptcy Court for the: Eastern District of New York

Case number it LG7 4O/ 73-085

(If known)

{Dlale}

LY Check if this is an
amended filing

 

Official Form 107

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question,

Give Details About Your Marital Status and Where You Lived Before

 

 

4. What is your current marital status?
A fori
Not married

2, we the last 3 years, have you lived anywhere other than where you live now?
N

a
L] Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

Dates Debtor2

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

= lived there:
Q Same as Debtor 1 CL] same as Debtor 1
Frem From
Number Street Number Street
To To
City State ZIP Code City State ZIP Cade
C) same as Debtor 1 UO same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Cade City State ZIP Code

| 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
and sérrifories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Riso, Texas, Washington, and Wisconsin.)

No
L] Yes. Make sure you fill out Schedule H: Your Codebtors (Oificial Form 106H).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
“s Case 1-19-40173-ess “Doc 11, Filed 01/24/19 Entered 01/25/19 10:01:21 0 ys

Debtor 4 cL ch Ag ud f | iO Case number (Fanown) / Sf P= FOFS - eS.

First Name Micidie Name Last Name

Explain the Sources of Your Income

 

 

: 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and ail businesses, including part-time activities.
if yogt are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

No
C} Yes. Fillin the details.

    
 
    

 

“Cheek all that apo!

 

- (before deductions and MS

   

SS) exchusions)} soe e ese

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: eee" axelusions} cocks
From January 1 of current year until LC) Wages, commissions, QO) Wages, commissions,
. bonuses, tips S$ bonuses, tips
the date you filed for bankruptcy:
Ly Operating a business mj Operating a business
For last calendar year: CL) Wages, commissions, O) Wages, commissions,
‘ bonuses, tips $ bonuses, tips $
(January 1 ta December 31, } Operating a business : LJ Operating a business
YY
For the calendar year before that: im Wages, commissions, OQ Wages, commissions,
bonuses, tips 5 bonuses, tips $
(January 1 to December 31, >} O Operating a business | Operating a business
YYYY

 

 

 

 

 

 

 

 

 

 

 

 

- 5, Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties: and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1,

source and the gross income from each source separately. Do not include income that you listed in line 4,
LY No

C) ‘Yes. Fill in the details.

See

manne aaeury natty

TEE neo eee See
Pen TAN

Suess

 

From January 1 of current year until, ————___ $e
the date you filed for bankruptcy: 5 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For last calendar year: 3.
(January 1 to December 31, ) $
YYYY
5
For the calendar year before that:
(January 1 to December 31, }

 

YYYY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
~~ "\Case-1-19-40173-ess Doc 11° Filed 01/24/19" “Entered 01/25/19 10:01:21

Debtor 1 Sd dh Aud ! \ lO Case number (kaon) Lat GF =~ POLI DZ ~LNS -

First Name Middle Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

 

6. “fee Debtor 1’s or Debtor 2’s debts primarily consumer debts?
No. Neither Debtor 1 nor Debtor 2 has primarify consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425" or more?

L] No. Go to line 7.

C] Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. De not include payments for domestic support obligations, such as
child support and alimony. Also, do noi include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

C] Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
i the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Ga to line 7,

LJ Yes. List below each creditor to wham you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

© “Dates of.” Total amount pai

a “Amount you still owe
=) payment. I

      

 

 

$ $ Cc Mortgage
CJ car
(A credit card

Credltor’s Name

 

Number Street

L) Loan repayment

 

Ly Suppliers or vendors

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C) other
City State ZIP Code
$ $ Ul Mortgage
Creditor’s Name
L) Car

 

Number Street LI Credit card

Q) Loan repayment

 

q Suppliers or vendors

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L) other
City State ZIP Code
$ 3 QQ Mortgage
Craeditor’s Name
C) car

L) credit card

 

Number Street
CE} boan repayment

 

U Suppliers or vendors
O Other

 

City State ZIP Code

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 

 
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edith ASuddo

First Name. Middle Name Last Name

Bebtor 1 Case number trxnown) / -/ 7 - 6/73 * edn

 

 

i

7, Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a genera! partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agept, Including one for a business you operate as a sole proprietor, 11 U.S.C. § 101. Include payments for domestic support obligations,
sudgh as child support and alimony.

i No
CJ Yes. List all payments to an insider.

 

 

ee
2 SOW ns

     

 

 

 

 

 

 

 

 

 

 

 

§ 3
Insider's Name
Number Street
City State ZIP Code
$ 5

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

 

 

 

8. Within 4 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
aninsider?
Inglude payments on debts guaranteed or cosigned by an insider,

No
CJ) Yes. List all payments that benefited an insider.

 

 

 

Insider's Name

 

Number Street

 

 

City

State

ZIP Code

 

 

 

 

 

 

 

 

 

 

 

 

Insider's Name

 

Number Street

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ZIP Code

 

 

Official Form 107

State

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 4

 

 

 

 

 

 

 
~.-Casé 1-19-40173-ess “Doc 11° Filed 01/24/19 - Entered'01/25/19°10:01:21° °°

Debtor 4 PA ep ASthe | IQ Case number (if known) / “f G- YO f 43 oe. N

First Name Middle Name Last Name

 

 

 
 

identify Legal Actions, Repossessions, and Foreclosures

 

 

i

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, smail claims actions, divorces, collection suits, patemity actions, support or custody modifications,

and gontract disputes.
No

D1 Yes. Fill in the details.

 

Stalus of the case

 

| Court or agency

 

 

 

 

 

Case tite Court Name L) Pending
CL) on appeal
Number Street LY concluded

Case number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City State ZIP Code
Case title. Eourt Name 2) Pending
O) on appeal
Number Street LI concluded
Case number
City State ZIP Code

i

 

 

  
 

10. Withinél year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?

all that apply and fill in the details below.

No. Go to line 11.
Q) Yes. Fill in the information below.

"= Value of the property.

 

 

Creditors Name

 

 

Number Street

 

Property was repossessed.

 

Property was garnished.

Q
L] Property was foreclosed.
O
O

 

City State ZIP Code

 

Value of the property

 

Property was attached, seized, or levied.

    

 

 

 

 

 

 

 

Creditors Name

 

 

 

Number Street

Property was repossessed.

 

Property was foreclosed.
Property was garnished.

 

City State ZIP Code . \
Property was aitached, seized, or levied.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

4

i
i

 

 

 

 

 

 
| ‘Case 1-19-40173-ess © Doc 11 | Filed 01/24/19" Entered 01/25/19 10:01:21

veto Pd ity ASMddlo somnumverim Int G~ 4OLTR- 254

First Name Middle Name Last Name

 

 

14, Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
ae or refuse to make a payment because you owed a debt?
N

oO
LJ Yes. Fill in the details.

 

 

 

Creditor’s Name

 

Number Street

 

 

 

oy
City State ZIP Code Last 4 digits of account number: woo _t Do Lt ie

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
va a court-appointed receiver, a custodian, or another official?
No

 

 

 

 

Ch Yes

List Certain Gifts and Contributions

 

 

i 13, Withig?2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Na
LJ Yes. Fill in the details for each gift.

~ Gifts with a total value of more than $600 Describe the gifts
- per person -

  

 

 

Person ta Whom You Gave the Gift

 

 

Number Street

 

City State ZIP Cade

 

Person's relationship to you

 

  
 
 

Gifts wi
per persone

 

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZIP Code

 

 

Person's relationship to you

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
~ Case 1-19-40173-ess. Doc 11 Filed 01/24/19" Entered’01/25/19 10:01:21 |

Debtor 4 Sb cl i KS tkd | (> Case number ¢rinaw /-f G-~SOSF AW eSs

First Name Middle Name Last Name

 

. 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $606 to any charity?

No
C) Yes. Fill in the details for each gift or contribution.

 

    

  

Date you

vhat you contributed te
_Sontributed

~ Gifts or contributions to chatities
_ that total more than $600”

 

 

 

 

 

Charity's Name

 

 

Number Street

 

 

 

 

 

 

 

 

ity State ZIP Code

 

List Certain Losses

 

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gainbling?

No
QO) Yes. Fill in the details.

 
 
 
 

 

*-Deser e the propert
the loss.occurred

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

wh any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
N

Q
(Yes. Fill in the details.

 
 
 

Date payment or |
transfer ade

   

 

 

 

Person Who Was Paid

 

Number = Street

 

 

City State Z1P Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 7

 

 

 
oe Case 1-19-40173-ess° ‘Doc 11 Filed-01/724/19 ‘Entered 01/25/19 10:01:21 ©

Debtor 4 GA fh AAD dl O Case number ¢ranowny l- /F+- SOW7IS- ESS,

 

 

 

 

 

         

 

 

 

 

Firethame ¥ Middle Name
Description and value of any property transferred ©
:
Person Who Was Paid :
$
Number Street
$

 

 

 

City State Z!P Code

 

Email or website address

 

Person Who Made the Payment, if Not ‘You

 

 

47, Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
De not include any payment or transfer that you listed on line 16.

No
LJ Yes. Fill in the details.

   

  
   

‘Date payment or... Amount of payment
‘transfer was made fo 2.222fce ce:

 

and value of any property transfe

 

 

 

Person Who Was Paid

 

 

Number Street

 

i
i i
i i

City Siate ZIP Code i ved

 

. 18. Within 2 years before you filed for bankruptey, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred In the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a sacurity interest or mortgage on your properly}.
Do fiot include gifts and transfers that you have already listed on this statement.
YU No
UI Yes. Fill in the details.

  
 

: Deseriptiot
“transferred:

 

 

Person Who Received Transfer

 

Nurber Street

 

 

City State ZIP Code

 

Person's relationship to you

 

 

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

 

 

 

 

 

City State ZIP Code

 

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
| - Gase 1-19-40173-ess Doc 11” Filed 01/24/19" Entered 01/25/19 10.01:21 °° ="

Debtor 1 SG A dh SAMO Case number (fsnown} / ~f G- oC L Deen ae SG

First Name Middie Name Last Name

: 19. Within, 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a’beneficiary? (These are often called asset-protection devices.}

No
CJ Yes. Fill in the details.

 

 

 

Name of trust

 

 

 

 

 
 

| List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
broflerage houses, pension funds, cooperatives, associations, and other financial institutions.

No
C) Yes. Fill in the detaifs.

 
  
 
 

 
 

‘Date account was
~ closed, sold, moved;
© Aor transferred: ss 200. 00:

Type of account or

“Last 4 digits of account number:
Peo instrument ©

      

 

 

Name of Financial Institution

XXX O] checking $

 

Number Street (J savings

QO Money market

 

QO Brokerage

City State ZIP Code | Other.

 

 

 

 

OOO D2) checking

 

Name of Financial Institution
ul Savings

 

Number Street a Money market

Q Brokerage
LD other

 

 

 

City State ZIP Gode

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
seg¢urities, cash, or other valuables?
No
C2 Yes. Fill in the details.

  

"Wwislatge had acess fo Bedcribe the contents

  

 

 

   

 
 

 

 

 

 

 

 

 

 

Name of Financial Institution Name
:
Number Street Number Street
City State ZIP Code : i
City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
“Case 1-19-40173-ess Doc 11 Filed 01/24/19 Entered 01/25/19'10:01:21>

Debtor 1 Le d. dn fi Swdil me } Case number (renown ~~ A> LfiI/ 2 - @ S|.

First Name Middle Name Last Name

22. Have’you stored property in @ storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
OQ) Yes. Fill in the details.

   

Describe the contents

 

  

 

Name of Storage Facility Name CE] Yes

 

Number Street Number Street i

 

:
City State ZIP Code i

 

City et State ZIP Code

  

Identify Property You Hold or Contro! for Someone Else

 

 

 

23, De you hold or contre! any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

No
(] Yes. Fill in the details.

“Vinere isthe propeity? = Desribethe property

   

 

 
 

 

Owner's Name

 

 

Number Street i :
Number Street i :

 

 

 

City State ZIP Code i
City State ZIP Code i “i

 

  

Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

”@ Environmental law means any federal, state, or jocal statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

# Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
it or used to own, operate, or utilize it, including disposal sites.

«@ Hazardous material means anything an environmental jaw defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
24. Hag any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

No
O Yes. Fill in the details.

_ Environmental law, fyou know Date of notice

 

= Geévernmental unit,

 

 

 

 

 

 

 

 

Name of site Governmental unit
:
Number Street Number Street
: a
3 City State ZIP Code
city State ZIP Code

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 
” “Case 1-19-40173-ess © Doc.11° Filed o1/24/19° - Entered 01/25/19 10:01:21 ©

Debtor 4 ZA LA A-SjVud-d LO Case number inom 7 Ge POST 3S~e SS

First Name Middie Name Last Name

 

25. Havegou notified any governmental unit of any release of hazardous material?
No

C) Yes. Fill in the details.

   

   

23 Environme al law: if you know it Date of notice

 

 

 

 

 

 

 

 

Name of site Governmental unit i
Number Street Number Street
City State ZIP Code

 

City State ZIP Code

 

 

26. Have4you been a party in any judictal or administrative proceeding under any environmental law? Include settlements and orders.

No
CU) Yes. Fillin the detaiis,

 
 
 
 

    

‘Status of the

  

‘Nature of the case

: ‘cour or agency

   

 

 

 

 

 

i Casetitle
: C2) Pendin
Court Name 8
/ OD on appeal
Number Street CF conctuded
mber
Gase nu City State ZIP Code

 

  

“ Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
U Asole proprietor or seff-employed in a trade, profession, or other activity, either full-time or part-time
C) A member of a limited liability company (LLC) or limited liability partnership (LLP)
Oa partner in a partnership
Q An officer, director, or managing executive of a corporation

An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies, Go to Part 12.
C] Yes. Check all that apply above and fill in the details is below for ¢ each business.

    

 
 
 

2 itifieation number:
: Do hot include Social Security! number of ITIN,

 

 

 

Business Name

 

Number Street

 

Name of accountant oF bookkeeper

 

 

 

 

City State ZIP Code

 

Describe the nature of the busines

 

 

Business Name

 

 

 

Number Street

 

 

 

From _ so

 

 

 

 

 

 

 

 

 

 

City State ZIP Code

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
 

“Case I-19-40173-ess “Doc 11° Filed 01/24/19 “Entered 01/25/19 10:01:21

Debtor 1 Glia A Sud if lo Case number (known) /- i G- OS 6 473 7 = Ss.

First Name Middle"Name Last Name

 

 

 

 

Business Name

 

 

 

Number Street ~ Name of accountant ‘or bookkeeper 205557" ‘Dates biisiness existed:

 

 

 

From To

 

City State Zl? Code

 

 

 

 

  
 

years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
tions, creditors, or other parties.

 

 

Name MM/DD/ ¥¥YY

 

Number Street

 

 

City State ZIP Code

Sign Below

 

 

| have read the answers on this Stafement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up te $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C, §§ 152, 1341, #519, and 3571.

& Kat , , ads fh o- #

Signature of Debtor 1 Signature of Debtor 2

Date \ W415 Date

v,. attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
N

  

 

0
O) Yes

bigou pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
Ni

°o

CQ) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 407 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 

 

 
~ Case 1-19-40173-ess' Doci11° Filed 01/24/19 ~Entered'01/25/19 10:01:21 °°

Debtor 1 SAW A <pvdild

First Name

 

“Middle Name

a Sign Below

Last Name

serrate ven AG-YOLB -ES.

 

Signature of Debtor 1

Date

 

By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.

ehbbe whl ho x

MM/ DD /YYYY

 

Signature of Debtor 2

Date
MM/ DD OIYYYY

 

 

Official Form 122C—2

 

 

Chapter 13 Calculation of Your Disposable Income page 8
